
PER CURIAM.
*550Affirmed. See Williams v. State, 689 So.2d 393, 396 (Fla. 3d DCA 1997) ("A defendant's confession or statement may be considered in connection with the other evidence, but the corpus delicti cannot rest upon the confession or admission alone. Therefore, the state must introduce substantial independent evidence of corpus delicti that tends to show that the charged crimes were committed.") (citations and quotations omitted); Burks v. State, 613 So.2d 441, 443 (Fla. 1993) ("[T]he state has the burden of proving by substantial evidence that a crime was committed, and ... such proof may be in the form of circumstantial evidence.") (quoting State v. Allen, 335 So.2d 823, 824 (Fla. 1976) ); Thomas v. State, 531 So.2d 708, 711 (Fla. 1988) ("Corpus delicti need not be proven beyond a reasonable doubt, but merely by evidence tending to show a crime has been committed.").
